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     Assistant U.S. Attorney
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7
8                       IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA        ) CR. NO. S-96-350-09-WBS
                                     )
12                   Plaintiff,      )
               v.                    ) STIPULATION AND (PROPOSED) ORDER
13                                   ) TO CONTINUE SENTENCING HEARING
                                     )
14   HUY CHI LUONG ,                 )
                                     )
15                   Defendant.      )
     _______________________________ )
16
17
18         The United States of America, through its counsels of record,
19   Benjamin B. Wagner, United States Attorney for the Eastern District
20   of California, and William S. Wong, Assistant United States
21   Attorney, and defendant Huy Chi Luong, through his counsel, John
22   Balazs , Esq., stipulate and agree to the following revised
23   sentencing hearing currently set for October 29, 2012, at 9:30 am
24   and to the sentencing hearing to January 22, 2013, at 9:30 am.
25   Counsel for the government needs additional time to file a
26   sentencing memorandum and will be out of the office on medical leave
27   for knee surgery from late November through January 3, 2013.
28   ///

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         Case 2:96-cr-00350-WBS-AC Document 812 Filed 10/29/12 Page 2 of 2


1    The parties stipulate that there is good cause for the continuance.
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3                                             Respectfully submitted,
4                                             BENJAMIN B.WAGNER
                                              United States Attorney
5
6    DATED: October 26,2012             By: /s/ William S. Wong
                                            WILLIAM S. WONG
7                                           Assistant U.S. Attorney
8    DATED: October 26, 2012            By: /s/ John Balazs
                                            JOHN BALAZS
9                                           Attorney for Defendant
10
11                                      ORDER
12        For the reasons set forth above, the sentencing hearing is
13   continued to January 22, 2013, at 9:30 am.
14
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16   DATED:   October 26, 2012
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